Case 2:05-md-01657-EEF-DEK Document 11719-3 Filed 07/19/07 Page 1 of 1



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

In re: VIOXX MARKETING, SALES               *      MDL NO. 1657
PRACTICES, and PRODUCTS                     *
LIABILITY LITIGATION                        *      SECTION L
                                            *
                                            *
WILLIMINA WHEATON, on behalf of             *      CASE NO. 05-0957
all surviving heirs and on behalf of        *
ROSIE L. WHEATON, Deceased,                 *
                                            *      JUDGE ELDON E. FALLON
              Plaintiff,                    *
v.                                          *      MAGISTRATE JUDGE
                                            *      DANIEL E. KNOWLES, III
MERCK & CO., INC., a foreign                *
corporation,                                *
                                            *      PLAINTIFF DEMANDS TRIAL
              Defendant.                    *      BY STRUCK JURY

(THIS DOCUMENT RELATES TO: Janet Sue Morgan, et al. vs. Merck & Co.; Civil
Action No. 3:03cv435)

                           CERTIFICATE OF COMPLIANCE

       In compliance with Pre-Trial Order No. 8B, undersigned counsel hereby certifies

that as soon as the Order of granting the Unopposed Motion for Leave to Amend

Complaint is entered by the Court he will make the change directly on File & Serve to

reflect the amended complaint in the above-referenced case.

                                            ____/s/ Benjamin L. Locklar________
                                            Andy D. Birchfield, Jr.
                                            Benjamin L. Locklar
                                            Beasley, Allen, Crow, Methvin, Portis
                                             & Miles, P.C.
                                            Post Office Box 4160
                                            Montgomery, Alabama 36103
                                            (334) 269-2343
                                            (334) 954-7555 - Fax
                                            Attorneys for the Plaintiff




                                           1
